                     IN THE UNITED STATES DISTRICT COURT
          Case 1:20-cr-00009-ELH Document OF
                        FOR THE DISTRICT  26 MARYLAND
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UNITED STATES OF AMERICA                          :
                                                  :
     v.                                           :
                                                  :     CRIMINAL NO. ELH-20-009
MICHAEL DAVIS, JR.,                               :
                                                  :
     Defendant.                                   :
                                                  :
                                              ...oOo...

                AMENDED MOTION TO UNSEAL SEARCH WARRANTS

       The United States of America, by its attorneys, Robert K. Hur, United States Attorney for

the District of Maryland, Paul A. Riley and Lauren E. Perry, Assistant United States Attorneys for

said District, moves this Honorable Court to order and direct that the following search warrants,

along with their accompanying applications, and affidavits be UNSEALED solely as to the (1)

Baltimore City State’s Attorney’s Office; and (2) counsel to Defendant Quintin Merritt, who is

charged in Baltimore City Circuit Court:       19-mj-2933-JMC, 19-mj-3936-JMC, 19-mj-3592-

JMC, 20-mj-0156-ADC, 20-mj-0154-ADC, and 20-mj-0152-ADC.

       In support of this motion, the United States submits that these materials relate to the

investigation of one Defendant Michael Davis’s co-conspirators, Quintin Merritt, who is charged

in Baltimore City Circuit Court and currently detained.   Unsealing of these materials is necessary

so that they can be provided to the Assistant State’s Attorney prosecuting Mr. Merritt’s state case

and, in turn, to Mr. Merritt’s lawyer in discovery.

                                                 Respectfully submitted,

                                                 Robert K. Hur
                                                 United States Attorney

                                                 _____/s/________________________
                                                 Paul A. Riley
                                                 Lauren E. Perry
                                                 Assistant United States Attorney
SO ORDERED, this _____ day of May, 2020.


                                                             ______________________________
                                                             Honorable Ellen L. Hollander
                                                             United States District Judge
